             Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 1 of 11



                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

YARACNE CARRASQUILLO CALDERON,                              CIVIL NO. 21-cv-1303

        Plaintiff,

        v.

MERCK SHARP & DOHME (I.A) LLC

        Defendant.

                                        NOTICE OF REMOVAL

TO THE HONORABLE COURT:

        COMES NOW the Defendant, MSD International GmbH (PR Branch) LLC1 (hereinafter

referred to as “MSD International GmbH”) through the undersigned attorneys, and hereby files this

Notice of Removal to remove the above-captioned case, which is currently before the Court of First

Instance of the Commonwealth of Puerto Rico, Superior Part of Caguas, to the United States

District Court for the District of Puerto Rico, on the following grounds:

                                            INTRODUCTION

        1.       On June 2, 2021, Yaracne Carrasquillo Calderon (“Plaintiff” or “Carrasquillo”) filed a

Complaint2 in the First Instance Court of Puerto Rico, Superior Part of Caguas, where the case is

captioned and numbered: Yaracne Carrasquillo Calderon v. Merck Sharp & Dohme (I.A.) LLC, Civil No.

CG2021CV01344. A true and correct copy of the Complaint in the Spanish language is attached as

Defendant’s Exhibit 1.3




1 Wrongly identified in the Complaint as “Merck Sharp & Dohme (I.A.) LLC”. Through this appearance we certify the
correct party is MSD International GmbH (PR Branch) LLC. See, Exhibit 3 - Unsworn Statement under Penalty of
Perjury of Franz Escherich, at ¶9.
2 The Complaint was the first document served upon Defendant via service of summons.
3 A certified English translation of the Complaint is being filed along with its original Spanish version.
                 Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 2 of 11



            2.       Essentially, Plaintiff seeks $97,278.00 as indemnity for alleged wrongful termination

and $24,319.50 for costs and attorney’s fees. See Exhibit 1, at ¶¶ 30 & 32.

            3.       On June 4, 2021, a copy of the Complaint and the corresponding summons were

served upon MSD International GmbH. A true and correct copy of the original service of summons

in the Spanish language is attached as Exhibit 2.4 Accordingly, pursuant to 28 U.S.C. §1446 (b), the

instant Notice of Removal has been filed within thirty (30) days of receipt of the Complaint and

Summons.

            4.       On June 21, 2021, Defendant filed its Answer to the Complaint before the First

Instance Court of Puerto Rico, Superior Part of Caguas. See Exhibit 4.

            5.       Copies of the documents filed in the Puerto Rico case and notified to Defendant –

namely the Complaint, Summons, and Answer to Complaint – have been attached to the instant

Notice of Removal. See Exhibit 1-2 and 4.

            6.       MSD International GmbH respectfully moves for the removal of the state court case

pursuant to 28 U.S.C. §§1441 and 1446, insofar as this Court has original jurisdiction over the

subject matter pursuant to 28 U.S.C. §1332(a)(3) because (1) there is complete diversity of

citizenship between the parties (2) the amount in controversy requirement is met, and (3) this Notice

of Removal has been filed in a timely fashion in compliance with all applicable procedures.

                                            GROUNDS FOR REMOVAL

            7.       Pursuant to 28 U.S.C. §1441, “any civil action brought in a State court of which the

district courts of the United States have original jurisdiction, may be removed by the defendant… to

the district courts of the United States for the district and division embracing the place where such

action is pending.”




4   A certified English translation of the Summons is being filed along with its original Spanish version.


                                                               2
              Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 3 of 11



         8.       In its pertinent part, Section 1332 of Title 28 provides that “[t]he district courts shall

have original jurisdiction of all civil actions where the matter in controversy exceeds the sum or

value of $75,000.00, exclusive of interest and costs, and is between … citizens of a State and citizens

or subjects of a foreign state.”5 28 U.S.C. §1332(a).

         9.       Under Section 1332(a)(2), which grants federal district court jurisdiction in action

between citizens of a state and “foreign states”, the quoted words mean other nations or other

countries. Republique Francaise v. M K & T Ry Co of Tex, 85 F. Supp. 295 (N.D. Tex. 1949). For

federal diversity jurisdiction purposes, corporation is a citizen of the states in which it has been

incorporated and in which it has its principal place of business; its “nerve center.” Hertz Corp. v.

Friend, 130 S.Ct. 1181, 1186, and 1192-1194 (2010) (holding that the phrase “‘principal place of

business’ refers to the place where the corporation’s high level officers direct, control, and

coordinate the corporation’s activities.”); see also Central West Virginia Energy Co., Inc. v.

Mountain State Carbon, LLC, 636 F.3d 101, 102 (4th Cir. 2011).

         10.      With respect to limited liability companies, the First Circuit Court of Appeals has

held that their citizenship “is determined by the citizenship of all its members.” D.B. Zwirn Special

Opportunities Fund, L.P. v. Mehrotra, 661 F.3d 124, 126 (1st Cir. 2011) (citations omitted).

         11.      According to Section 1446 of Title 28, “[a] defendant or defendants desiring to

remove any civil action … from a State court shall file in the district court of the United States for

the district and division within which such action is pending a notice of removal.” 28 U.S.C.

§1446(a). The notice of removal must be filed with this Court within thirty (30) days after the receipt

by defendant of the initial pleading through service or otherwise. Under 28 U.S.C. §1446(a), the

notice shall be accompanied by “a copy of all process, pleadings, and orders served upon” the

removing defendant.

5 Section 1332(d) considers that “[t]he Word “States”, as used in this section, includes the Territories, the District of
Columbia, and the Commonwealth of Puerto Rico.” 28 U.S.C. § 1332(d).


                                                           3
           Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 4 of 11



        12.      As will be explained below, MSD International GmbH respectfully submits that the

jurisdictional requirements of Section 1332(a)(3) are met in the instant case.

    A. ORIGINAL JURISDICTION

                            Complete diversity of citizenship of the parties

        13.      In her Complaint, Plaintiff specifically alleged that she resides in San Lorenzo,

Puerto Rico. See Exhibit 1, at Section II, ¶ 1. The Complaint avers that Merck Sharp & Dohme

(I.A.) LLC is a foreign corporation authorized to do business in Puerto Rico law. Id., at ¶ 2.

Although the Plaintiff acknowledged that her former employer is a foreign corporation, she

misspelled the name; the correct name of Plaintiff’s former employer is in fact “MSD International

GmbH (PR Branch) LLC”, and not “Merck Sharp & Dohme (I.A.) LLC”. See, Exhibit 3, at ¶9. As

such, the relevant inquiry for diversity purposes is for MSD International GmbH (PR Branch) LLC.

        14.      MSD International GmbH is a foreign limited liability company organized under the

laws of Switzerland, with its principal place of business located in Switzerland, and is authorized to

do business in Puerto Rico as a “branch” with a pharmaceutical plant located in Pridco Industrial

Park 183 Road, las Piedras, Puerto Rico 00771.6 See Exhibit 3: Unsworn Statement under Penalty

of Perjury of Franz Escherich, at ¶3 and the underlying document cited therein as Exhibit II:

Certificate of Authorization of Foreign Non-US Limited Liability Company issued by the

Department of State of the Commonwealth of Puerto Rico, ps. 1-3 and 9. All directors,

officers, and members of the board of directors of MSD International GmbH are residents and

work outside the jurisdiction of Puerto Rico. See, Exhibit 3, at ¶7 and the underlying documents




6 Noticeably, in her Complaint, Plaintiff avers that the address of her former employer was PRIDCO Industrial Park,
Carretera #183, Las Piedras, PR 00771, which is the physical address of MSD International GmbH (Puerto Rico
Branch) LLC. See Exhibit 1, at Section II, ¶2; cf. Exhibit II, at p. 9. Those facts in addition to Plaintiff’s Form
499R-2/W-2PR Withholding Statement (see Exhibit 3, at ¶9; and Exhibit VI), confirm the fact that Plaintiff’s
former employer was MSD International GmbH (Puerto Rico Branch) LLC and not Merck Sharp & Dohme (I.A)
LLC.


                                                        4
           Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 5 of 11



cited therein as Exhibit I; see, also, Exhibit III- MSD International GmbH Commercial register

of canton Luzern, at p. 7, notes 29 and 41.

         15.      The sole member (or owner) of MSD International GmbH is: MSDIG Holdings

Unlimited Company,7 which was organized in Ireland, with its principal place of business located in

Weystrasse 20, 6006 Lucerne, Switzerland. See, Exhibit 3, at ¶ 3 and the underlying document cited

therein as Exhibit III, at p. 7, note 47; and Exhibit IV – MSDIG Holdings Unlimited

Company - Company Report; see, also, Exhibit II, at p. 3. ¶5. All directors, officers, and members

of the board of directors of MSDIG Holdings Unlimited Company are residents and work outside

the jurisdiction of Puerto Rico. See, Exhibit 3, at ¶4 and the underlying document cited therein as

Exhibit I; see, also, Exhibit IV, at ps. 2-3.

         16.      MSD International GmbH is also an indirectly wholly-owned subsidiary of Merck &

Co. Inc., which in turn was incorporated under the laws of the State of New Jersey, and its

headquarters are located 2000 Galloping Hill Road, Kenilworth, NJ, 07033, United States of

America. See Exhibit 3, at ¶5 and the underlying document cited therein as Exhibit V. Noticeably,

Merck & Co., Inc. does not have any officers, directors, or employees in Puerto Rico, and does not

conduct any business in Puerto Rico as a corporate entity. Exhibit 3, at ¶6.

         17.      Although MSD International GmbH is authorized to do business as a “branch” in

Puerto Rico, its nerve center, its principal place of business, the actual center of direction, control,

and coordination is based outside of the jurisdiction of Puerto Rico, specifically at Weystrasse 20,

6000 Lucern, Switzerland. See Exhibit 3, at ¶3 and ¶8. Since the date of the filing of the Complaint,

and up to the present, all directors, officers and members of the board of directors of MSD

International GmbH have resided and worked outside Puerto Rico; most business activities of MSD


7 It is clarified that MSDIG Holdings Unlimited Company was previously named MSDIG Holdings Limited, Merck
Sharp & Dohme Ireland (Human Health) Limited. See, Exhibit 3, at footnote 1; see, also, the underlying document cited
therein as Exhibit IV, at p.1.


                                                         5
          Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 6 of 11



International GmbH have been directed and controlled outside the jurisdiction of Puerto Rico; all

corporate official records pertaining to MSD International GmbH are kept outside the jurisdiction

of Puerto Rico; and all corporate resolutions and executive matters pertaining to MSD International

GmbH have been handled and executed outside the jurisdiction of Puerto Rico. See Exhibit 3, at ¶

8. Furthermore, the highest-ranking employees of MSD International GmbH in Puerto Rico report

directly to the headquarters outside the jurisdiction of Puerto Rico and they have no authority to

make major executive decisions without the express authorization of the directors and officers that

operate outside of Puerto Rico: in Switzerland and/or New Jersey. Id. As such, MSD International

GmbH’s headquarters, where executive decisions are made, have been located at all relevant times

outside the jurisdiction of Puerto Rico. Id.

        18.     On another hand, Merck Sharp & Dohme de Puerto Rico, Inc. (“Merck”) was a

foreign corporation organized under the laws of the State of Delaware and it used to be authorized

to do business in Puerto Rico. However, by way of a filing made on December 23, 2016, Merck

formally notified the Puerto Rico State Department a Certificate of Withdrawal of the Authorization

to do Business in Puerto Rico, to be effective on December 31, 2016, at 11:59 PM. Furthermore,

Merck was dissolved in the Delaware Department of State on January 11, 2017. See Exhibit 3, at ¶

10; and the underlying documents cited therein as Exhibits VII-IX. Likewise, Merck’s principal

place of business, the actual center of direction, control, and coordination was based outside of the

jurisdiction of Puerto Rico, as well as all directors and officers of Merck resided and worked outside

the jurisdiction of Puerto Rico. Exhibit 3, at ¶11. Furthermore, the highest-ranking employees of

Merck in Puerto Rico reported directly to the headquarters outside the jurisdiction of Puerto Rico,

and they had no authority to make major executive decisions without the express authorization of

the directors and officers that operate outside of Puerto Rico: in Delaware and/or New Jersey. Id.




                                                  6
              Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 7 of 11



           19.       Although it has already been clarified that Merck Sharp & Dohme (I.A) LLC was not

Plaintiff’s employer, for purposes of argumentation it is respectfully informed that said entity has

also been authorized to do business in the Commonwealth of Puerto Rico as a foreign limited

liability corporation organized under the laws of Delaware, with its corporate address at 1209

Orange Street, Wilmington, Delaware 19801. See Exhibit 3, at ¶12 and the underlying document

cited therein as Exhibit X – Certificate of Authorization of a U.S. Foreign Limited Liability

Company issued by the Department of State of the Commonwealth of Puerto Rico. The local

offices of Merck Sharp & Dohme (I.A) LLC are located in PR Industrial Park 370 calle Fabril,

Carolina, Puerto Rico 00987,8 and it is engaged in the business of sales and distribution of

pharmaceutical products. Id. The sole member of Merck Sharp & Dohme (I.A) LLC is Merk Sharp

& Dohme (I.A.) B.V., with its principal place of business located in Waarderweg 39, 2031 BN

Haarlem, The Netherlands. See Exhibit 3, at ¶13 and Exhibit X, at ps. 2-3. In turn, the managers

of Merk Sharp & Dohme (I.A.) B.V. are Franciscus Rubertus Maria Mattijssen, Paul Reinier

Koopman, Elizabeth Catherine Hondius and Hans Pieter Bart Verhagen, with usual business

address at Waarderweg 39, 2031 BN Haarlem, The Netherlands. Id. Additionally, Merck Sharp &

Dohme (I.A) LLC’s principal place of business, the actual center of direction, control, and

coordination was based outside of the jurisdiction of Puerto Rico, as well as all of the managers of

Merk Sharp & Dohme (I.A.) B.V. resided and worked outside the jurisdiction of Puerto Rico. See

Exhibit 3, at ¶14. Furthermore, upon information and belief, the highest-ranking employees of

Merck I.A. in Puerto Rico reported directly to the headquarters outside the jurisdiction of Puerto

Rico, and they had no authority to make major executive decisions without the express authorization

of the directors and officers that operate outside of Puerto Rico: in Delaware and/or The

Netherlands. Id.


8   See, footnote #6, above.


                                                     7
           Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 8 of 11



        20.      In light of the foregoing, the record shows that the “principal place of business” –the

“nerve center”– of MSD International GmbH, Merck, and Merck Sharp & Dohme (I.A) LLC has

been located at all relevant times, and as of the filling of the instant Complaint, outside the

jurisdiction of Puerto Rico. See, Exhibit 3. Furthermore, insofar as the “citizenship” of a limited

liability company “is determined by the citizenship of all of its members,” D.B. Zwirn Special

Opportunities Fund, L.P. v. Mehrotra, 661 F.3d at 126, in the instant case it is abundantly clear that

Plaintiff and MSD International GmbH are citizens of different “States” pursuant to 28 U.S.C.

§1332 because none of Defendant’s members are citizens of Puerto Rico.9 Accordingly, the

complete diversity of citizenship requirement is met.10

                       The removal meets the jurisdiction amount threshold

        21.      As previously discussed, the total amount-in-controversy in this case equals

$121,597.50 for alleged wrongful termination and attorney’s fees. See Exhibit 1, at ¶¶ 30 & 32.

        22.      As previously stated, Section 1332 of Title 28 provides that “[t]he district courts shall

have original jurisdiction of all civil actions where the matter in controversy exceeds the sum or

value of $75,000.00, exclusive of interest and costs…” 28 U.S.C. §1332(a).

        23.      Therefore, the amount in controversy pursuant to the Complaint satisfies the

jurisdictional amount.

     B. REMOVAL PROCEDURE

        24.      Section 1441 of Title 28 provides, in turn, that “any civil action brought in a State

court of which the district courts of the United States have original jurisdiction, may be removed by

the defendant or defendants, to the district Court of the United States for the district and division

embracing the place where such action is pending.” 28 U.S.C. §1441(a). Actions not removed


9 See, Exhibit 3, at ¶3, ¶7-¶8, ¶12-¶14.
10 See Hernandez Navarro v. MSD, Civil No. 17-2226 and Cortes-Diaz v. Merck, Civil No. 19-01611 where removal to
this Court was granted.


                                                       8
          Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 9 of 11



pursuant to ‘federal question’ jurisdiction, “shall be removable only if none of the parties in interest

properly joined and served as defendants is a citizen of the State in which such action is brought.” 28

U.S.C. §1441(b).

        25.      Under 28 U.S.C. §1446(b), the notice of removal must be filed with this Court within

thirty (30) days after the receipt by defendant of the initial pleading through service or otherwise.

Under 28 U.S.C. §1446(a), the notice shall be accompanied by “a copy of all process, pleadings, and

orders served upon” the removing defendant. Since a copy of the Complaint and the corresponding

summons were served upon Defendant on June 4, 2021, the instant Notice of Removal has been filed

within thirty (30) days after having received notice –through formal service or otherwise– of the

initial pleading setting forth the claim for relief upon which such proceeding is based. Accordingly,

removal is timely. See Danca v. Private Health Care Sys., 185 F.3d 1 (1st Cir. 1999) (quoting Murphy

Brothers, Inc. v. Michetti Piper Stringing, Inc., 526 U.S. 344, 143 L. Ed 2d 448, 119 S. Ct. 1322,

1328-30 (1999)).

        26.      Pursuant to 28 U.S.C. §1441(a) and 1391(a)(2), the United States District Court for

the District of Puerto Rico is the Court with jurisdiction over the district where the Puerto Rico case

is pending and may therefore entertain the removed action.

        27.      In compliance with 28 U.S.C. §1446, MSD International GmbH hereby certify that

there are adequate jurisdictional grounds for the removal of the present action, and it has attached

herein copies of all pleadings, motions, and remaining processes served upon Defendant in the

Spanish language with their certified English translation. See, Exhibits 1-2. Additionally, on June 21,

2021, Defendant filed its Answer to the Complaint in its original English language before the First

Instance Court of Puerto Rico, Superior Part of Caguas, copy of which was served upon Defendant.

See Exhibit 4.




                                                   9
         Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 10 of 11



       28.     Lastly, in strict compliance with to Local Civil Rule 7.1, Defendant hereby states –as

its corporate disclosure statement– that MSD International GmbH is a foreign limited liability

company organized under the laws of Switzerland, with its principal place of business located in

Weystrasse 20, 6006 Lucerne, Switzerland, and it is authorized to do business in Puerto Rico as a

“branch.” The sole member (or owner) of MSD International GmbH is: MSDIG Holdings

Unlimited Company, which was organized in Ireland, with its principal place of business located in

Weystrasse 20, 6006 Lucerne, Switzerland. For its part, Merck Sharp & Dohme (I.A) LLC is

authorized to do business in the Commonwealth of Puerto Rico as a foreign limited liability

corporation organized under the laws of Delaware, and its sole member is Merk Sharp & Dohme

(I.A.) B.V., with its principal place of business located in Waarderweg 39, 2031 BN Haarlem, The

Netherlands. Lastly, MSD International GmbH and Merck Sharp & Dohme (I.A) LLC are also

indirectly wholly-owned subsidiaries of Merck & Co., Inc., which in turn is a public traded company

incorporated in New Jersey, with corporate headquarters located at 2000 Galloping Hill Road,

Kenilworth, New Jersey. In sum, as explained above, all relevant times Defendant’s direction,

control and dealings were made outside Puerto Rico.

                                            PRAYER

       WHEREFORE, Defendant gives notice of the removal of this action, pursuant to sections

1332, 1441, and 1446 of Title 28, United Sates Code, and requests that said cause of action proceed

before this Honorable Court as an action properly removed.

                                 CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that, on this date, a true and exact copy of this Notice of

Removal with its Exhibits will be served by mail and email to counsel for Plaintiff: Carlos J.

Morales-Bauzá, Rosello & Morales, C.S.P., Cond. Altagracia, 262 calle Uruguay, Ste. C3-C4, San




                                                 10
         Case 3:21-cv-01303-SCC Document 1 Filed 06/24/21 Page 11 of 11



Juan, PR 00917-2017, and carlosjmoralesbauza@gmail.com; and a copy will be served electronically

upon the Clerk of the First Instance Court of Puerto Rico, Superior Part of Caguas.

       RESPECTFULLY SUBMITTED in San Juan, Puerto Rico, this 24th day of June 2021.




                                                 _______________________

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